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                    EXHIBIT 12
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 O utlook Print Message                                                                         Page I of3



  RE : logo

  f-ru 111 : Sutton Lionel ( lhs3 law@ hotmEli l.com)
  S~:lll:   Thu 5/09/ 13 3:51 PM
   In:      Glen Lerner (gknkrnen::sq@·aol com)
  Just between me and you, here IS your report:

  402 cla1man11:
  GU~ h ~wfl submitted\\ ~ i snc d Clnim rorm;
  77.% stalled a Registration Form but did notl.nish;
  l&o/o lmishcd Registration but did Ide a Claim Form;
  <1% lmished Registration, started a Claim Form but did not finish.

  466 total claims filed:
  89 paid;
  1791ncompleteness Not ices lswccl, only 93 responded to (.17 of the non· responslves are w aiting to get
  paid);
  136 under review but no Incompleteness Notices issued;
  47 denied

  txamplc of some problems.
  1) Your f~tm was issued an Incomplet eness Notice on Taten's on 12/3. What appears to be a complete
  response was not rec~ived by us unt il 5/3. During thatf month period, a fo l of claims got in front of
  yours.
  2) Only a httle more than hdlf of your clients have even submitted signed claims Ill an intake rate ol
  more than 200/day, your tl1ents will be way behmd




  L ionel II. Sulton. Il l
  935 Clra\'icr St.. S t~:. 19 I0
  N~:w Orit.;nns, L/\        70 I 12
  Ollicc 504 592 3230
  Cell 50-1 957 4689


  Subject; Re: logo
  rrom; glenlprneresq@aOI.<olll
  Date: Thu, 9 May 2013 15:23:19 ·0400
  To: lhs3faw@hotmatl.com




                                                                                                             SM-01-GL00331
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 Owlook Print Mc.:ssage                                                                       Page.: 2 of3

  They are not paying claoms. Insane

  Sent from my !Phone

  On May 9, 2013, at3'16 PM, Sutton lionel <IM31aa@totmail.com> wrote:


        she's good. il has actually been pretty fun working together on this.

        Lionel II. Sunon, Ill
        935 Gravier St., Ste. 19 I0
        New Orleans, I .A 70 I I 2
        Oflicc.: 504 592 3230
        <:ell 504 957 4689


        Subject: Re: logo
        from: glenlern~resg@aol.com
        OdiC: Thu. 9 M ~y 2013 15:13:14 0400
        To: lloj}law@hotrnali.SQ!Jl

        Ooh Ia Ia. Work harder. How's Chros .

        Sent rrom my !Phone

        On May 9, 2013, ~t 3:07PM, Suuon Lionel <lhl11~w(.ilhotmall.com> wrote:


              u forget. 1m also workine hoHd to get you S so you can pay lor shi t.


              Lion~ ! I I. Sutton. II I
              935 Gravier St., Ste. 1910
              New Orlcnns, LA 70 I I 2
              0 II icc 504 592 3230
              Cdl 504 957 4689


              S~o bject : Re: logo
              From: g,te~t t'l.f!f so ri: ao!.cQill
              Date: lhu, 9 May 2013 IS:OG:03 ·0~00
              To· lhs31aw@h.otmail.con'

              Glad to see you working so hard while I trv to figure out how to keep pi!ying
              lot shit




                                                                                                       SM-01-GL00332
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 Outlook Pri nl Messarrc
                     1::>                                                             Page 3 of3


           Sent from my iPhone

            On May 9, 2013, at 3;02 PM, Sutton lionel <lhs31aw@hotmail.com> wrote;



                  What I like about the logo I sent vou is t hat it is in our name.
                  Now we can be identified '."Jhen someone sees ovr name alone.
                  /\lot o f companies are named crown w ith a ccown logo. This
                  stands out . It would look great on gol f shirts, hats, ect.

                  They can come with some others, I just thought this one hi t
                  right away.


                  l .iQnel I I. Sullon, Il l
                  935 Gravicr St., Sic. 1910
                  New Orleans, I .A 70 I 12
                  Ollice 504 592 3230
                  Cel l 504 957 46&9




                                                                                              SM-01-GL00333
